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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 MARK T. ESPER,
                          Plaintiff,
                v.                                          Civil Action No. 21-3119 (TFH)

 U.S. DEPARTMENT OF DEFENSE,
                          Defendant.

                                 STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby stipulate to

dismiss this action with prejudice and without fees or costs to any party.

                               Respectfully submitted,


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Dated: February 4, 2022
